Case 2:04-Cv-OO454 Document 217 Filed on 02/26/19 in TXSD Page'lzof 2

IRUN THUNDERHUREE, TDEJ # 62#391
Jester III Unit, 3 Jester Road

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rlohmond, tx. IIADE sbwd:g§§¥$obww
Sr/'ct
.01-11-1019 FILED°’TSXRS
To: United States Distriot Elerk 826 201§
P.o. BU>< 61 mo David.;_B,
Hnustgn, T)< 'r'r?_oa ad’eMC/erkofc

Re: DDNEAE v. PIEREE, et. al. Bivil Action No. Z.UA-cv-AEQ/`

 

Dear E;erk.

I am proceeding pro se in a separate eause and I request the First page and
last two pages of the Dpoket Sheet in the above said cause.

Rganks for your assistanoe¢
Sineerely,

'Q‘M %M\/m/»

Iron Thunderhorse

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